914 F.2d 1490Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Timothy E. FINLEY, Plaintiff-Appellant,v.Michael J. CAVANAUGH, Carl N. Lundberg, Defendants-Appellees.
    No. 90-6613.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 27, 1990.Decided Sept. 26, 1990.Rehearing and Rehearing In Banc Denied Oct. 31, 1990.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Falcon B. Hawkins, Chief District Judge.  (CA-89-2434-CA)
      Timothy E. Finley, appellant pro se.
      Carl Norman Lundberg, South Carolina Department of Probation, Parole &amp; Pardon Service, Columbia, S.C., for appellees.
      D.S.C.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Timothy E. Finley appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Finley v. Cavanaugh, CA-89-2434-CA (D.S.C. June 27, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.  The motion for appointment of counsel and the motion to dismiss the appeal as moot are denied.
    
    
      2
      AFFIRMED.
    
    